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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION




 EL-AMIN BASHIR,

                         Plaintiff,

 v.                                        Case No. 3:05-cv-1165-J-12HTS


 UNITED STATES [OF] AMERICA,

                         Defendant.


                                   ORDER

                                 I. Status

      On October 31, 2005, Plaintiff El-Amin Bashir filed a pro se

 Complaint pursuant to the Federal Tort Claims Act (hereinafter

 FTCA), 28 U.S.C. § 1346(b), in the United States District Court for

 the Southern District of New York.          In the Complaint, Plaintiff

 claims that the United States Marshal's Service, as an agency of

 the United States, is responsible for the loss of his property,

 specifically various articles of personal clothing to wear during

 his federal criminal trial.      Since a substantial part of the acts

 or omissions giving rise to the Complaint occurred in the judicial

 district   of   the   Middle   District   of   Florida,   the   case   was
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 transferred to this Court. See Case No. 1:05-cv-9192-MBM, Transfer

 Order (Doc. #3), filed October 31, 2005.

         Before this Court are two pending motions: Defendant's Motion

 to Dismiss or, in the Alternative, for Summary Judgment (Doc. #33)

 (hereinafter Motion for Summary Judgment) with a Memorandum in

 Support of Defendant's Motion to Dismiss or for Summary Judgment

 (Doc. #32) (hereinafter Defendant's Memorandum) and Plaintiff's

 Motion        to    Preclude   Summary   Judgment   and   Motion   to   Dismiss

 Defendant's Request for Summary Judgment (Doc. #38), filed May 29,

 2007.1       Since Plaintiff is appearing pro se, the Court previously

 advised him of the provisions of Fed. R. Civ. P. 56 and gave him an

 opportunity to respond.          See Court's Order (Doc. #35), filed March

 30, 2007.           Plaintiff has responded to the Motion for Summary

 Judgment.          See Plaintiff's Motion to Preclude Summary Judgment and

 Motion to Dismiss Defendant's Request for Summary Judgment (Doc.

 #38).        Thus, the Motion for Summary Judgment is ripe for review.

                          II.   Summary Judgment Standard

         With respect to the standard for granting summary judgment,

 the Eleventh Circuit Court of Appeals has stated:



          1
         The parties have submitted exhibits in support of their
 pending motions. Defendant's exhibits, attached to the Memorandum
 in Support of Defendant's Motion to Dismiss or for Summary Judgment
 (Doc. #32), will be hereinafter referred to as "Defendant's Ex."
 Plaintiff's exhibits, attached to his Motion to Preclude Summary
 Judgment and Motion to Dismiss Defendant's Request for Summary
 Judgment (Doc. #38), will be hereinafter referred to as
 "Plaintiff's Ex."

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            [S]ummary   judgment   is   proper  "if the
            pleadings,     depositions,     answers  to
            interrogatories, and admissions on file,
            together with the affidavits, if any, show
            that there is no genuine issue as to any
            material fact and that the moving party is
            entitled to judgment as a matter of law."
            Fed. R. Civ. P. 56(c); Celotex Corp. v.
            Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548,
            2552, 91 L.Ed.2d 265 (1986).

 In re Optical Technologies, Inc., 246 F.3d 1332, 1334 (11th Cir.

 2001).

      The    parties'     respective       burdens   and    the    Court's

 responsibilities are outlined as follows:

                 The party seeking summary judgment bears
            the initial burden to demonstrate to the
            district court the basis for its motion for
            summary judgment and identify those portions
            of the pleadings, depositions, answers to
            interrogatories, and admissions which it
            believes show an absence of any genuine issue
            of material fact. Taylor v. Espy, 816 F.Supp.
            1553, 1556 (N.D. Ga. 1993) (citation omitted).
            In assessing whether the movant has met this
            burden, the district court must review the
            evidence and all factual inferences drawn
            therefrom, in the light most favorable to the
            non-moving party. Welch v. Celotex Corp., 951
            F.2d 1235, 1237 (11th Cir. 1992); Rollins v.
            TechSouth, Inc., 833 F.2d 1525, 1528 (11th
            Cir. 1987).     If the movant successfully
            discharges its burden, the burden then shifts
            to the non-movant to establish, by going
            beyond the pleadings, that there exist genuine
            issues of material fact. Matsushita Electric
            Industrial Co. v. Zenith Radio Corp.[,] 475
            U.S. 574, 586-87, 106 S.Ct. 1348, 1355-56, 89
            L.Ed.2d 538 (1986); Clark v. Coats & Clark,
            Inc., 929 F.2d 604, 608 (11th Cir. 1991).

                 Applicable substantive law will identify
            those facts that are material.    Anderson v.
            Liberty Lobby, 477 U.S. 242, 248, 106 S.Ct.

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            2505, 2510, 91 L.Ed.2d 202 (1986).     Genuine
            disputes are those in which the evidence is
            such that a reasonable jury could return a
            verdict for the non-movant. Id. For factual
            issues to be considered genuine, they must
            have a real basis in the record. Matsushita,
            475 U.S. at 586-87, 106 S.Ct. at 1355-56. It
            is not part of the court's function, when
            deciding a motion for summary judgment, to
            decide issues of material fact, but rather
            determine whether such issues exist to be
            tried. Anderson, 477 U.S. at 249, 106 S.Ct.
            at 2135.     The Court must avoid weighing
            conflicting evidence or making credibility
            determinations.   Id. at 255, 106 S.Ct. at
            2513-14. Instead, "[t]he evidence of the non-
            movant is to be believed, and all justifiable
            inferences are to be drawn in his favor." Id.
            Where a reasonable fact finder may "draw more
            than one inference from the facts, and that
            inference creates a general issue of material
            fact, then the court should refuse to grant
            summary judgment." Barfield v. Brierton, 883
            F.2d 923, 933-34 (11th Cir. 1989) (citation
            omitted).

 Hairston v. Gainesville Sun Pub. Co., 9 F.3d 913, 918-19 (11th Cir.

 1993).

      "It is true that on a motion for summary judgment, all

 reasonable inferences must be made in favor of the non-moving

 party."   Cuesta v. School Bd. of Miami-Dade County, 285 F.3d 962,

 970 (11th Cir. 2002) (citation omitted).       "A court need not permit

 a case to go to a jury, however, when the inferences that are drawn

 from the evidence, and upon which the non-movant relies, are

 'implausible.'"    Id. (citations omitted).

            If a reasonable jury could not find in favor
            of the nonmoving party, no genuine issue of
            material fact does exist; and summary judgment
            is proper. Beal v. Paramount Pictures Corp.,

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             20 F.3d 454, 459 (11th Cir. 1994).      A mere
             scintilla of evidence in support of the
             nonmoving party will not suffice to overcome a
             motion for summary judgment. Allen v. Tyson
             Foods, Inc., 121 F.3d 642, 646 (11th Cir.
             1997). As Fed. R. Civ. P. 56(e) states, "When
             a motion for summary judgment is made and
             supported as provided in this rule, an adverse
             party may not rest upon the mere allegations
             or denials of the adverse party's pleading,
             but   the   adverse   party's   response,   by
             affidavits or as otherwise provided in this
             rule, must set forth specific facts showing
             that there is a genuine issue for trial."

 Young v. City of Palm Bay, Fla., 358 F.3d 859, 860 (11th Cir.

 2004).

                  III. Plaintiff's Allegations and Claims

       In   the   Complaint,    Plaintiff      Bashir   alleges    that   he   was

 arrested on or about April 19, 2002.           Complaint at 1 (citing Case

 No. 3:02-cr-115-J-32TEM-2).          On or about March 2, 2003, prior to

 the   commencement      of   the   federal    criminal   trial,    Plaintiff's

 attorney Daniel Smith, Esquire, gave the United States Marshal's

 Service various articles of personal clothing for Plaintiff Bashir

 to wear during the trial:          two Ralph Lauren suits, two linen Ralph

 Lauren shirts, two crew neck shirts, four pairs of slacks, a pair

 of Salvatore Ferragamo loafers and a pair of Mauri loafers. Id. at

 2.    After the trial ended on or about March 12, 2003, Mr. Smith

 went to the United States Marshal's Office to retrieve the articles

 of clothing.      Id.    In the process of returning the articles of

 clothing to Plaintiff's wife, it was discovered that the following

 items were not returned with the other articles of clothing:                   a

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 black Ralph Lauren suit (valued at $750.00); a navy blue Ralph

 Lauren suit (valued at $750.00); a black linen Ralph Lauren shirt

 (valued at $150.00); a blue linen Ralph Lauren shirt (valued at

 $150.00); and a pair of Salvatore Ferragamo loafers (valued at

 $350.00).    Id.   The total value of the lost items is $2,150.00.

 Id.

       Both Plaintiff's wife and Mr. Smith contacted the United

 States Marshal's Office numerous times to attempt to repossess the

 items.   Id. at 2-3.     Eventually, Plaintiff's wife and Mr. Smith

 were informed by the United States Marshal's Office that the

 articles of clothing had more than likely been lost during the

 relocation of the Marshal's Office. Id. at 3. Plaintiff concludes

 that the articles of clothing were negligently lost by the United

 States Marshal's Office during the relocation.          Id.    As relief,

 Plaintiff seeks compensatory damages in the amount of $2,150.00 for

 the lost articles of clothing, attorney's fees, incurred court

 costs and any other relief that this Court deems equitable.           Id.

                        IV. Law and Conclusions

       In Defendant's Motion for Summary Judgment, Defendant claims

 that Plaintiff failed to timely file his Complaint after having

 received a certified letter denying the administrative claim, as

 required by 28 U.S.C. § 2401(b). Motion for Summary Judgment at 4,

 5-7. As noted by Defendant, actions brought under the FTCA must be

 pursued in compliance with the procedures set forth in that Act.


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 Among the procedures mandated by the FTCA is the requirement that

 litigation must be filed, if at all, within six months after an

 agency's denial of the administrative claim.                More specifically,

 the FTCA provides:

            A tort claim against the United States shall
            be forever barred unless it is presented in
            writing to the appropriate Federal agency
            within two years after such claim accrues or
            unless action is begun within six months after
            the date of mailing, by certified or
            registered mail, of notice of final denial of
            the claim by the agency to which it was
            presented.

 28 U.S.C. § 2401(b) (emphasis added).              Thus, to comply with the

 FTCA's   statute    of   limitations,     a    plaintiff       must    file   an

 administrative claim within two years after the date his claim

 accrues and file an action within six months after the agency mails

 its denial of the administrative claim. Phillips v. United States,

 260 F.3d 1316, 1317 (11th Cir. 2001); Shoff v. United States, 245

 F.3d 1266, 1267-68 (11th Cir. 2001).

      On January 31, 2005, the United States Marshal's Service

 received an administrative claim prepared by Plaintiff Bashir that

 had been referred by the Federal Bureau of Prisons, Northeast

 Regional Office.     Defendant's Memorandum, Declaration of Jessica

 Born, an attorney for the United States Marshal's Service, at 1;

 Defendant's Ex. A.       The administrative claim alleged that the

 United States Marshal's Service in Jacksonville, Florida, lost

 Plaintiff's   clothing    and   shoes   on    or    about    April    18,   2003.


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 Defendant's     Memorandum,    Declaration   of   Jessica   Born    at   2;

 Defendant's Ex. B.    By certified letter dated April 11, 2005, from

 Gerald M. Auerbach, General Counsel, on behalf of the United States

 Marshal's Service, Plaintiff's administrative claim was denied.

 Defendant's     Memorandum,    Declaration   of   Jessica   Born    at   2;

 Defendant's Ex. C.        Specifically, the denial states in pertinent

 part:

                   Our   review    of   the    circumstances
              surrounding your claim has disclosed no
              evidence of negligence or wrongful acts on the
              part of any USMS employee. Specifically, we
              have no record, nor have you provided any
              evidence to substantiate, that the USMS ever
              took possession of your claimed property.

                   Accordingly, your administrative tort
              claim against the United States, in the amount
              of $2,150.00, is denied. If you are is [sic]
              dissatisfied with our determination, suit may
              be filed in the appropriate U.S. District
              Court not later than six months after the date
              of the mailing of this notice of final denial.

 Defendant's Ex. C. Thus, Plaintiff was required to file his action

 in federal court by October 11, 2005.

         The certified mail return receipt reflects a mailing date of

 April 11, 2005, which is the same date that is reflected in the

 denial letter.      Id.    The return receipt card reflects that the

 denial letter was sent to Plaintiff Bashir at his address at the

 Federal Correctional Institution in Otisville, New York.           Id.   The

 return receipt reflects that the denial letter was received on




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 April 14, 2005.     Defendant's Memorandum, Declaration of Jessica

 Born at 2; Defendant's Ex. D.

      Defendant contends that Plaintiff's suit in federal court was

 not filed by the due date of October 11, 2005, but rather was filed

 on October 31, 2005. Motion for Summary Judgment at 2; Defendant's

 Memorandum at 2, 7.      However, Plaintiff claims, and this Court

 agrees, that Plaintiff timely filed his Complaint in the United

 States District Court for the Southern District of New York and the

 case was later transferred to this Court for further review and

 disposition.    Plaintiff's Motion to Preclude Summary Judgment and

 Motion to Dismiss Defendant's Request for Summary Judgment at 1.

      The record reflects that Plaintiff Bashir's Complaint, dated

 September 12, 2005, was received by the Pro Se Office of the United

 States District Court for the Southern District of New York on

 September 19, 2005.    See Case No. 1:05-cv-9192-MBM, Transfer Order

 (Doc. #3), filed October 31, 2005, at 1 n.1; Plaintiff's Complaint

 (Doc. #2); Plaintiff's Motion to Preclude Summary Judgment and

 Motion to Dismiss Defendant's Request for Summary Judgment (Doc.

 #38), filed May 29, 2007, Ex. B, Letter to Plaintiff from the Pro

 Se Office of the United States District Court for the Southern

 District of New York (stating "your papers were received by the Pro

 Se Office on September 19, 2005"). Thus, while the Complaint (Doc.

 #2) was filed in the United States District Court for the Southern

 District of New York on October 31, 2005, this Court will give


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 Plaintiff the benefit of the mailbox rule and find that the

 Complaint was filed on the date he signed the Complaint and

 apparently handed it to the prison authorities for mailing to the

 Court (September 12, 2005). See Houston v. Lack, 487 U.S. 266, 276

 (1988).     Thus, Plaintiff timely filed his Complaint in federal

 court.     Therefore, Defendant's Motion for Summary Judgment (Doc.

 #33), with respect to the contention that Plaintiff has not timely

 filed his Complaint in this Court, will be denied.                Further,

 Plaintiff's Motion to Preclude Summary Judgment and Motion to

 Dismiss Defendant's Request for Summary Judgment (Doc. #38) will be

 partially granted only with respect to the timeliness issue.

       Secondly, Defendant claims that the FTCA specifically exempts

 any claim based on the detention of goods by law enforcement

 officers    in   the   performance   of    their   duties   and   therefore

 Plaintiff's Complaint should be dismissed since the United States

 is exempt from such a claim pursuant to 28 U.S.C. § 2680(c).

 Motion for Summary Judgment at 2; Defendant's Memorandum at 7-9.

 Plaintiff argues that the United States is not exempt from such a

 claim.    Plaintiff's Motion to Preclude Summary Judgment and Motion

 to Dismiss Defendant's Request for Summary Judgment at 3-4.

       The Eleventh Circuit has stated:

                  Sovereign    immunity     protects   the
             government from lawsuits for damages unless
             immunity is expressly waived by statute. Lane
             v. Pena, 518 U.S. 187, 192, 116 S.Ct. 2092,
             135 L.Ed.2d 486 (1996). A waiver of sovereign
             immunity must be expressly and unequivocally

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             found in the statutory text and cannot be
             implied. Id. Not only is there no express
             and unequivocal statutory waiver by Congress
             which would apply to [Plaintiff's] claims, but
             the Federal Tort Claims Act specifically
             prohibits money damages for "[a]ny claim
             arising in respect of . . . the detention of
             any goods, merchandise, or other property by
             any . . . law enforcement officer." 28 U.S.C.
             § 2680(c). The Supreme Court has reaffirmed
             that the United States has not waived its
             sovereign immunity with respect to "a claim
             resulting from negligent handling or storage
             of detained property." Kosak v. United States,
             465 U.S. 848, 854, 104 S.Ct. 1519, 79 L.Ed.2d
             860 (1984); see also Schlaebitz v. United
             States Dep't of Justice, 924 F.2d 193 (11th
             Cir. 1991) (affirming dismissal of federal
             prisoner's claim for money damages based on
             United States Marshal's unauthorized release
             of prisoner's luggage and its contents to a
             third party).

 United States v. Potes Ramirez, 260 F.3d 1310, 1315-16 (11th Cir.

 2001).

       Section 2680(c) of the FTCA exempts the United States from

 liability for "[a]ny claim arising in respect of the assessment or

 collection of any tax or customs duty, or the detention of any

 goods, merchandise, or other property by an officer of customs or

 excise or any other law enforcement officer."                  In Schlaebitz v.

 United States Dep't of Justice, 924 F.2d 193, 194 (11th Cir. 1991)

 (per curiam), the Eleventh Circuit broadly construed "any other law

 enforcement    officer"      to   include    "officers    in    other    agencies

 performing their proper duties."             The Eleventh Circuit, in its

 opinion,   reviewed    the    circuits      that   had   addressed      the   issue

 interpreting 28 U.S.C. § 2680(c) and the phrase "any other law

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 enforcement officer" and found it to include officers in other

 agencies performing their proper duties, including United States

 Marshals.    Id. at 194-95.    In its conclusion, the Court held:

             We find the reasoning of the other circuits
             persuasive. Here there is no contention that
             the Marshalls [sic] were not acting within
             their lawful authority. The Tort Claims Act
             specifically exempts any claim based on the
             detention of goods by law enforcement officers
             in the performance of their lawful duties. We
             therefore hold that the district court
             properly dismissed Schlaebitz's claim for lack
             of subject matter jurisdiction.

 Id. at 195; see also Bramwell v. United States Bureau of Prisons,

 348 F.3d 804 (9th Cir. 2003), cert. denied, 543 U.S. 811 (2004)

 (Federal Bureau of Prisons officers); Chapa v. United States Dep't

 of Justice, 339 F.3d 388, 390 (5th Cir. 2003) (Federal Bureau of

 Prisons officers); Hatten v. White, 275 F.3d 1208, 1210 (10th Cir.

 2002) (Federal Bureau of Prisons officers); Halverson v. United

 States, 972 F.2d 654, 656 (5th Cir. 1992) (Border Patrol agents),

 cert. denied, 507 U.S. 925 (1993); Cheney v. United States, 972

 F.2d 247, 248 (8th Cir. 1992) (drug task force agents).

       This Court takes judicial notice of Ali v. Federal Bureau of

 Prisons, 204 Fed.Appx. 778 (11th Cir. 2006), cert. granted, 75

 U.S.L.W. 3633 (U.S. May 29, 2007) (No. 06-9130).             In Ali, the

 Eleventh Circuit held that officers of the Federal Bureau of

 Prisons who allegedly mishandled the inmate plaintiff's property

 fell within the FTCA's exception from the waiver of immunity for



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 claims arising from the detention of goods by "any other law

 enforcement officer."      Specifically, the Court stated:

             The   United   States    Supreme   Court   has
             interpreted § 2680(c) broadly to cover not
             only damages arising from the detention of
             goods or merchandise, but also situations in
             which damages result from their negligent
             storage or handling. Kosak v. United States,
             465 U.S. 848, 854-59, 104 S.Ct. 1519, 1523-25,
             79 L.Ed.2d 860 (1984). The definition of "any
             other law-enforcement officer," within the
             meaning of § 2680(c) has been addressed by
             this circuit and sister circuit courts of
             appeal. Schlaebitz v. United States Dep't of
             Justice, 924 F.2d 193 (11th Cir. 1991). In
             Schlaebitz, we held that U.S. Marshals, who
             were allegedly negligent in releasing a
             parolee's luggage to a third party, were "law-
             enforcement officers" within the meaning of
             the FTCA exception in § 2680(c). 924 F.2d at
             195; see also United States v. Potes Ramirez,
             260 F.3d 1310, 1315-16 (11th Cir. 2001).

             After reviewing the record, we conclude that
             the district court did not err in finding that
             the officers who handled Ali's property fall
             within the exception found in 28 U.S.C. §
             2680(c). See Schlaebitz, 924 F.2d at 194-95.
             Accordingly, the district court did not err in
             dismissing Ali's FTCA claim for want of
             subject matter jurisdiction under Fed. R. Civ.
             P. 12(b)(1).

 Id. at 779-80.

       Very recently, on May 29, 2007, the United States Supreme

 Court granted Petitioner Ali's petition for a writ of certiorari on

 the following question:

             Under 28 U.S.C. 2680(c), the Federal Tort
             Claims Act's waiver of sovereign immunity does
             not extend to "[a]ny claim arising in respect
             of . . . the detention of any goods,
             merchandise, or other property by any officer

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                of customs or excise or any other law
                enforcement officer." The question presented,
                over which ten circuits are divided six-to-
                four is:

                Whether the term "other law enforcement
                officer" is limited to officers acting in a
                tax, excise, or customs capacity.

 Petitioner's Petition for a Writ of Certiorari, 2007 WL 1541311

 (Jan.    25,    2007)   (No.   06-9130);    see   Ali,    75   U.S.L.W.    3633;

 http://www.supremecourtus.gov (Docket, Case No. 06-9130).

         Since the United States Supreme Court has granted Petitioner's

 petition for a writ of certiorari in Ali on the above-stated

 question, which is an issue that will significantly affect the

 resolution       of   the   pending   motions     now    before   this    Court,

 Defendant's Motion to Dismiss or, in the Alternative, for Summary

 Judgment (with respect to the applicability of 28 U.S.C. § 2680(c))

 and Plaintiff's Motion to Preclude Summary Judgment and Motion to

 Dismiss Defendant's Request for Summary Judgment (with respect to

 that same above-stated issue) will be deferred and will be ruled on

 after the United States Supreme Court has made a final ruling in

 Ali.     Further, this case will be stayed pending resolution of the

 Ali case in the United States Supreme Court, and Defendant will be

 directed to notify the Court when the United States Supreme Court

 has made its final ruling in Ali.          Finally, the Clerk of Court will

 be directed to administratively close this case.




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       Therefore, it is now

       ORDERED:

       1.    Defendant's Motion to Dismiss or, in the Alternative, for

 Summary Judgment (Doc. #33), with respect to the contention that

 Plaintiff has not timely filed his Complaint in this Court, is

 DENIED. Plaintiff has timely filed his Complaint in federal court.

       2.    Defendant's Motion to Dismiss or, in the Alternative, for

 Summary Judgment (Doc. #33), with respect to the applicability of

 28 U.S.C. § 2680(c), is DEFERRED and will be ruled on after the

 United States Supreme Court has made a final ruling in Ali.

       3.    Plaintiff's Motion to Preclude Summary Judgment and

 Motion to Dismiss Defendant's Request for Summary Judgment (Doc.

 #38) is PARTIALLY GRANTED only to the extent that this Court has

 denied a portion of Defendant's Motion to Dismiss or, in the

 Alternative, for Summary Judgment (Doc. #33).           See paragraph 1.

 The remaining portion concerning the applicability of 28 U.S.C. §

 2680(c) is DEFERRED and will be ruled on after the United States

 Supreme Court has made a final ruling in Ali.

       4.    This case is STAYED pending the final resolution of the

 Ali case in the United States Supreme Court, and Defendant shall

 notify the Court when the United States Supreme Court has made its

 final ruling in Ali, at which time the stay will be lifted, and

 this Court thereafter will rule upon the remaining portions of the

 following motions:       Defendant's Motion to Dismiss or, in the

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 Alternative, for Summary Judgment (Doc. #33) and Plaintiff's Motion

 to Preclude Summary Judgment and Motion to Dismiss Defendant's

 Request for Summary Judgment (Doc. #38).

       5.    The Clerk of Court shall administratively close this case

 until further Order of this Court.

       DONE AND ORDERED at Jacksonville, Florida this        13th    day of

 June, 2007.




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 c:
 El-Amin Bashir
 Ass't U.S. Attorney (Rodriguez)




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